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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP,
                                            Plaintiff,

 v.                                                        Case No. 1:19-cv-2173-CJN

 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF REPRE-
 SENTATIVES, et al.,
                           Defendants.

                                 STIPULATION OF DISMISSAL
       The parties jointly stipulate to the following:

       1.       Plaintiff, then-President Trump, filed this lawsuit in 2019 to stop Defendants from

obtaining his state tax returns under New York’s TRUST Act. See Docs. 1, 30.

       2.       The TRUST Act states that, when certain conditions are met, the chair of the House

Ways and Means Committee can request the state tax returns of “the president of the United States.”

E.g., N.Y. Tax Law §449(a-1)(1).

       3.       Plaintiff is no longer “the president of the United States.” Id.

       4.       Even if he were, Defendant Neal no longer chairs the House Ways and Means

Committee, and the current Committee has no interest in Plaintiff’s tax returns.

       5.       Accordingly, this case is hereby dismissed under Rule 41(a)(1). Each side will bear its

own fees and costs.
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Dated: January 20, 2023                     Respectfully submitted,

 s/ Patrick Strawbridge                      s/ Todd B. Tatelman
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